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   7 RIVERSIDE, and SGT. SHEREE
     ANTHONY
   8
                          UNITED STATES DISTRICT COURT
   9
                        CENTRAL DISTRICT OF CALIFORNIA
  10
  11
       SYBIL DAVIS,                                                            Case No. 5:16-CV-00227-JGB(KKx)
  12                                                                           [The Hon. District Judge, Jesus G.
                         Plaintiff,                                            Bernal, Magistrate, Kenly Kiya Kato]
  13
                 v.                                                            DEFENDANTS' THIRD AMENDED
  14                                                                           PROPOSED VERDICT FORM
       THE COUNTY OF RIVERSIDE, et al.
  15
                         Defendants.
  16
  17
                                                                               Complaint Filed: 06-22-16
  18                                                                           Final PTC:       10-29-18
                                                                               Trial:           11-13-18
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   1             Defendants COUNTY OF RIVERSIDE and SGT. SHEREE ANTHONY
   2 hereby submit the following First Amended proposed Verdict Form to be provided
   3 to the jury at the time of trial.
   4             Defendants reserve the right to amend this Verdict Form.
   5 DATED: November 20, 2018                                             MANNING & KASS
                                                                          ELLROD, RAMIREZ, TRESTER LLP
   6
   7                                                                      B
                                                                          y
   8                                                                      :     /s/ Angela M. Powell
   9                                                                      Angela M. Powell
                                                                          Attorneys for Defendants, COUNTY OF
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                                                                          RIVERSIDE, and SGT. SHEREE
  11                                                                      ANTHONY
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   1                                                        VERDICT FORM
   2             We, the jury, being first empaneled and sworn, do find our verdict as follows:
   3
   4 ISSUE 1:               Use of Force (§ 1983 Excessive Force, Battery, Bane Act,
   5 Negligence in Force).
   6             1.         Did Defendant Sgt. Sheree Anthony use excessive or unreasonable
   7 force against Anthonie Smith when she fired the last gunshot at him?
   8
   9                        YES _______                    NO _______
  10
  11
  12             If you answered “Yes” to this question, proceed to Question No. 2.
  13             If you answered “No” to this question, skip the remaining questions and sign
  14 the juror Verdict Form.
  15
  16
  17             2.         If you find Sgt. Sheree Anthony used excessive force, did her use of
  18 excessive or unreasonable force cause Anthonie Smith's harm?
  19
  20                        YES _______                    NO _______
  21
  22                        If you answered "yes," go to the next question.
  23                        If you answered “No” to this question, skip the remaining questions
  24 and sign the juror Verdict Form.
  25
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   1 ISSUE 2:               §1983 familial interference claim - § 1983
   2
   3 3.          If you find that Sgt. Sheree Anthony used excessive force, do you find that
   4 Sgt. Anthony violated plaintiff Sybil Davis' Fourteenth Amendment right to be free
   5 from interference with a familial relationship of a mother and son with a purpose to
   6 harm decedent Anthonie Smith that was unrelated to legitimate law enforcement
   7 objectives?
   8             YES _______                     NO _______
   9
  10             If you answered yes, answer No. 4.
  11             If you answered no, skip No. 4 and go to No. 4A.
  12
  13 4.          Did the conduct in Question 3 cause plaintiff Sybil Davis harm?
  14             YES _______                     NO _______
  15             GO TO THE NEXT QUESTION.
  16
  17 ISSUE 2a: (Bane Act)
  18
  19 4A.         If you find that Sgt. Sheree Anthony used excessive force, did Sgt. Sheree
  20 Anthony interfere or attempt to interfere by threats, intimidation or coercion with
  21 Anthonie Smith’s constitutional right to be free from excessive and/or unreasonable
  22 force when she fired the last gunshot at him?
  23             YES _______                     NO _______
  24             If you answered yes, answer No. 4B.
  25             If you answered no, go to No. 5.
  26
  27 4B.         Did Sgt. Sheree Anthony act with the particular purpose of depriving
  28 Anthonie Smith's enjoyment of the constitutional right to be free from excessive
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   1 and/or unreasonable force when she fired the last gunshot at him?
   2             YES _______                     NO _______
   3             If you answered yes, answer No. 4C.
   4             If you answered no, go to No. 5.
   5
   6 4C.         Did Anthonie Smith reasonably believe that if he exercised his constitutional
   7 right to be free from excessive and/or unreasonable force Sgt. Sheree Anthony
   8 would commit violence against him?
   9             YES _______                     NO _______
  10             If you answered yes, answer No. 4D.
  11             If you answered no, go to No. 5.
  12
  13 4D.         Was Sgt. Sheree Anthony's conduct in 4A to 4C a substantial factor in
  14 causing Anthonie Smith's harm?
  15             YES _______                     NO _______
  16             GO TO NO. 5.
  17
  18
  19 ISSUE 3:               Damages & Comparative Fault.
  20
  21 5.          If your answer to Question Nos. 2, 4, or 4D was “Yes,” what amount of
  22 damages, if any, do you find that Anthonie Smith sustained as a result of Sgt. Sheree
  23 Anthony's last shot?
  24
  25 Anthonie Smith                                                              $____________
  26
  27             If you awarded any amount of damages for Question No. 5, proceed to
  28 Question No. 6.
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   1             If you awarded no damages under Question No. 5, skip the remaining
   2 questions and sign the juror Verdict Form.
   3
   4 6.          Was decedent Anthonie Smith's negligence a cause of his injury, damage, loss
   5 or harm to himself?
   6                                                        __________ YES                           ___________ NO
   7
   8 7.          If your answer to Question Nos. 2 or 4 was a "Yes," and your answer to No.
   9 6 was a "yes," what percentage of responsibility for Anthonie Smith's injury,
  10 damage, loss, harm or death do you assign to the negligent conduct, if any, of the
  11 following persons?
  12 Decedent Anthonie Smith                                                     _____________%
  13 Defendant Sgt. Sheree Anthony                                               _____________%
  14
  15
  16                        TOTAL                                                                             100 %
  17
  18
  19
  20 Proceed to Question No. 8.
  21
  22 8.          If your answer to Question No. 2, 4 or 4D was “Yes,” what amount of
  23 damages, if any, do you find that plaintiff Sybil Davis sustained as a result of the
  24 actions of defendant Sgt. Sheree Anthony for the loss of Anthonie Smith (wrongful
  25 death)?
  26
  27                                                                  $_______________
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   1 9.          If you found damages, was the conduct of Sgt. Sheree Anthony malicious,
   2 oppressive or in reckless disregard of Anthonie Smith's rights?
   3
   4             YES _______                     NO _______
   5
   6 Please date, sign, and return this Verdict Form to the Court Clerk.
   7
   8             I hereby certify that this verdict is unanimous.
   9
  10 Dated: _____________________, 2018
  11
  12
  13 Signed: ________________________________
  14                        Presiding Juror (Foreperson)
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